Case 3:17-cv-00101-RDM Document 304 Filed 05/22/19 Page 1 of 24

|
a b kK | myers plete kelly
|

May 22, 2019
VIA Email and ECF

Judge Thomas I. Vanaskie

JAMS, Inc.

1717 Arch Street, Suite 3810
Philadelphia, Pennsylvania 19103

Re: CFPB v. Navient Corp., et al., Case No. 3:17-cv-00101-RDM
Dear Judge Vanaskie:

‘The parties, with the intensive assistance of the Special Master, have worked diligently to
meet the June 7 Court-ordered deadline for the close of fact discovery. The weekly status
conferences have served to keep the parties on track and ensure that there are no surprises.
During last week’s May 14 status conference, in response to Your Honor’s inquiry, Defendants
explained: “[W]e’re largely on the same page with the CFPB here. We have got two depositions
remaining, they’re going to be doing a 30(b)(6) of a Navient corporation witness, and we have,
of course, the deposition of Seth Frotman. Otherwise, we have been able to work through the
- deposition[s] of the witnesses on their disclosure list, and I think we’re essentially, at the end
there.”! For its part, CFPB’s lead counsel had already represented, “from our perspective, there
are — it’s just, really, the issues that have already been placed on the table ... We don’t have
anything new.””

Nevertheless, six days later, around 9 p.m. on Monday, May 20, the CFPB served
Defendants with Plaintiff's Fifth Supplemental and Amended Initial Disclosures (“Fifth
Supplemental Disclosures”), adding four new witnesses with just 14 business days remaining in
discovery. Ex. A. This is not the first time that the CFPB deployed this tactic. In December
2018, the CFPB waited until two days before the then-scheduled close of discovery to update its
disclosures with five new witnesses. Ex. B. The CFPB concedes that it is impossible for
Defendants to gather the relevant documents regarding these four new witnesses, produce those
documents to the CFPB, subpoena the witnesses, schedule their depositions, prepare for their
depositions, and then take their depositions—within 14 days.> See Semi-Tech Litig, LLC v.
Bankers Trust Co., 219 F.R.D. 324, 325 (S.D.N.Y. 2004) (explaining that parties must make
required Rule 26 disclosures not just before court-imposed discovery deadlines but in time for
the other side to comply with such deadlines).

 

1 May 14, 2019 Hearing Tr. 10:13-19.
2 May 14, 2019 Hearing Tr. 9:19-29; 10:7-8.
3 See May 21, 2019 Hearing Tr. 15:11-17

425 Spruce Street | Suite 200 | Scranton, PA 18503 | p (570) 342-6100 | € (570) 342-6147 | www.mbklaw.com
Case 3:17-cv-00101-RDM Document 304 Filed 05/22/19 Page 2 of 24

Judge Thomas I. Vanaskie
May 22, 2019
Page 2

Federal Rule of Civil Procedure 26(e)(1)(A) requires a party to update its initial
disclosures “in a timely manner if the party learns that in some material respect the disclosure or
response is incomplete or incorrect.” (emphasis added). A party that fails to follow these
requirements is “not allowed to use that information or witness to supply evidence ... unless the
failure was substantially justified or is harmless.” Fed. R. Civ. P. 37(c)(1). The CFPB has the
burden to show that its untimely Fifth Supplemental Disclosures are either substantially justified
or harmless. See Robins v. Nationwide Mut. Ins. Co., 2013 WL 6191953, at *4 (M.D. Pa. Nov.
26, 2013). Here it can show neither. Its Fifth Supplemental Disclosures should be stricken.

The CFPB’s only explanation for why it waited more than two years to identify four new
witnesses is that it “did not secure these witnesses’ cooperation until the past week,” and it is
only required to update its disclosures “when the [B]ureau secures a witness’ cooperation.”* The
CFPB offers no support for this subjective and self-serving standard, which appears nowhere in
the Federal Rules. Nor has the CFPB used that standard throughout this litigation. In fact, there
are repeated examples of the CFPB disclosing witnesses and later withdrawing those same
witnesses because the witnesses were not willing to be deposed or even able to be located. As
just one example, in the CFPB’s Third Supplemental and Amended Initial Disclosures, served
less than a month before the last discovery deadline on November 9, 2018, the CFPB disclosed
former Navient employce EEE. Yet it apparently did so without “securing her
cooperation,” because for months Defendants tried to schedule her deposition to no avail. As
late as March 26, 2019 (over four months after the CFPB disclosed her), the CFPB told
Defendants, “We are continuing to try to reach BEE 204 left another voice message in
the past few days. We would like to continue our efforts and will keep you updated as to
whether we have any success in getting in touch with her.” Ex. C. Finally, on April 17, 2019,
the CFPB told Defendants that it was withdrawing

“(T]he timeliness question is driven largely by the question of when the Plaintiffs came
into possession of the documents that would lead them to identify the particular individuals they
would make use of in proving their claims.” Jama v. City & Cty. Of Denver, 304 F.R.D. 289,
300 (D. Colo. 2014). Each of the four new witnesses should have been disclosed months ago.

(1) WEE. The CEPB now claims that it first learned of former Navient
employce IEEE when it interviewed her at some point in May 2019. But on
September 4, 2018, Navient produced to the CFPB a list of all former Navient call center
employees, along with their contact information.» The CFPB demanded this information because
“we would like to call certain of these people and talk with them.’® At any point since
September 2018, the CFPB could have called EE As recently as last Wednesday, May
15—after the CFPB assured the Court that “we don’t have anything new in discovery”— the
CEPB was still trying to contact new witnesses from the list provided by Navient, sending cold
emails with the subject linc, “EEE, the federal government is suing your former employers

 

4 May 21, 2019 Hearing Tr. 14:8-9; 15:2-3.
5 NAV-02968150.
6 Aug 8, 2018 Hearing Tr. 30:21-24,
Case 3:17-cv-00101-RDM Document 304° Filed 05/22/19 Page 3 of 24

Judge Thomas I. Vanaskie
May 22, 2019
Page 3

Navient/Sallie Mae,” and asking if they “might be willing to speak about [their] experiences.”
Ex. D. The CFPB’s delay in identifyin is neither “substantially justified” as
required by Rule 37(c)(1) nor timely under Rule 26(e)(1)(A).

(2) The CFPB now claims that it first learned of |
BE when it interviewed him at some point this month. BE is disclosed
as a witness related to the allegation that Navient reported an inaccurate code (the AL code) to
the credit bureaus for borrowers whose loans were discharged due to disability. But on
November 2, 2018, Navient produced to the CFPB a list of all borrowers for whom Navient
reported the AL code.’ Like the list of former employees, this list also included contact
information for cach borrower. The CFPB’s delay in identifying Po is neither
“substantially justified” as required by Rule 37(c)(1) nor timely under Rule 26(e)(1)(A).

3) LEB «nc 4) RR 1h CFPB disclosed |

someone with “knowledge of Navient’s payment processing errors with respect to her son
HE student loans,” and HE 2s someone with “knowledge of Navient’s
communications with her regarding repayment options for her federal student loans. Ex. A. The
CFPB proffered that it did not previously disclose ae 20 HE because “we
did not know they were going to have information that we would use to support our claims and
defenses until the past week.”® But the CFPB acknowledges that it spoke with ii’
over a year ago, in May 2018, and three times after that in February, March, and May of 2019.
And it spoke with a: five months ago, in January 2019, and three times after that
in February, April, and May of 2019. Over the course of this litigation the CFPB has disclosed
over 60 consumers, but Ss :.: ae are the only two that (according to its
disclosures) the CFPB has interviewed four different times before disclosing them. The CFPB
was obligated to disclose these witnesses months ago and this court should not condone the
CFPB’s gamesmanship.

Fact discovery in this case is now in its 24" month. The last extension gave the parties an
additional six months to close out fact discovery. The CFPB was at all times aware of the
Court’s repeated admonitions that it intended to hold the June 7 deadline. There is simply no
good-faith excuse for the CFPB’s dilatory, unfair, and prejudicial tactics.

 

7 NAV-05855534.
8 Td. at 18:9-11,

 
Case 3:17-cv-00101-RDM Document 304 Filed 05/22/19 Page 4 of 24

Judge Thomas I. Vanaskie
May 22, 2019
Page 4

The CFPB’s latest untimely Supplemental Disclosures are neither substantially justified
nor harmless. They should be stricken. See, eg., Fed. R. Civ. P. 37(c)(1); Estate of ‘McDermed
y. Ford Motor Co., 2016 WL 1298096, at *6-7 (D. Kans. April 1, 2016) (striking supplemental
disclosures made 21 days before discovery deadline); Nathan v. Ohio State Univ., 2012 WL
12985801, at *1, 3 (S.D, Ohio April 17, 2012) (finding untimely second amended disclosures
submitted nine days before discovery deadline and excluding late-disclosed witnesses).

Enclosures

 
Case 3:17-cv-00101-RDM Document 304 Filed 05/22/19 Page 5 of 24

EXHIBIT A
Case 3:17-cv-00101-RDM Document 304 Filed 05/22/19 Page 6 of 24

SENSITIVE — CONTAINS PERSONALLY IDENTIFIABLE INFORMATION (PID)
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IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

Consumer Financial Protection Bureau,

Plaintiff, Case No. 3:17-CV-00101-RDM
(Hon. Robert D. Mariani)

v.
Navient Corporation, et al.,

Defendants.

 

 

PLAINTIFF'S FIFTH
SUPPLEMENTAL AND AMENDED INITIAL DISCLOSURES

SUPPLEMENTAL AND AMENDED INITIAL DISCLOSURES
Pursuant to Rules 26(a)(1)(A) and 26(e)(1) of the Federal Rules of
Civil Procedure, the Bureau provides the following information to
supplement and amend the initial disclosures served upon Defendants
Navient Corporation, Navient Solutions, LLC (“Navient” or “Navient
Solutions”), and Pioneer Credit Recovery, Inc. (“Pioneer”) on May 10, 2017;
the first supplement served on October 20, 2017; the second supplement
served on February 27, 2018; the third supplement served on November 9,
2018; and the fourth supplement served on December 5, 2018. The Bureau
reserves the right to clarify, revise, or correct any of its disclosures, and may
provide further supplementation as appropriate under Federal Rule of Civil

Procedure 26(e). No information contained in these disclosures should be

construed as a waiver of any applicable privilege, including, but not limited
Case 3:17-cv-00101-RDM Document 304 Filed 05/22/19 Page 7 of 24

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to, the attorney work product privilege, the attorney-client privilege, or the

deliberative process privilege.

Il Rule 26(a)(4)(A)@: “the name and, if known, the address
and telephone number of each individual likely to have
discoverable information—along with the subjects of that
information—that the disclosing party may use to support
its claims or defenses, unless the use would be solely for
impeachment”

The individuals described below are likely to have discoverable
information that the Bureau may use to support its claims. Because
discovery in this action is ongoing, any description of an individual’s
knowledge or information should not be read to limit the subject matter(s)
about which particular individuals may have discoverable information.

A. Current and Former Employees of Defendants

As previously communicated to Defendants, the Bureau has removed
BE. 2 former employee, from its third supplement.

In addition, the Bureau adds the names of the following current and

former employees, who have information and knowledge that includes the

testimony that they provided at their depositions relating to the claims in

eho
EE . These witnesses can be contacted through
Case 3:17-cv-00101-RDM Document 304 Filed 05/22/19 Page 8 of 24

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Defendants’ counsel.

Finally, the Bureau adds the following former employee:

 

 

 

 

 

 

 

 

 

 

Name Contact Date of Description of Information or Knowledge
Information —_ | Interview
| May 2019 Ms BEE, formerly a Collections Specialist I,
nm. has information and knowledge concerning
collections call center practices, including
communications with borrowers, employee
compensation and incentives, and Navient’s
expectations regarding call duration.
B. Consumers

The Bureau adds the following consumers:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Name Contact Date of Description of Information or Knowledge
Information _| Interview
May 2019 Vr has knowledge concerning the
* discharge of his federal loans due to his disabilities
and his difficulties obtaining credit.
May 2018; Ms. has knowledge of Navient’s payment
ae February, processing errors with respect to her son
March, and BE student loans.
May 2019
January, Ms. has knowledge of Navient’s
ae February, comnrunications with her regarding repayment

April, and May | options for her federal student loans.
2019

 

 

** Please serve witness at listed addresses, and not at place of employment.

 
Case 3:17-cv-00101-RDM Document 304 Filed 05/22/19 Page 9 of 24

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Dated: May 20, 2019

Kristen Donoghue
Enforcement Director

David Rubenstein
Deputy Enforcement Director

Thomas Kim
Assistant Deputy Enforcement Director

/s/ Nicholas Jabbour
Nicholas Jabbour, DC 500626
(Nicholas.Jabbour@cfpb.gov; 202-435-7508)
Ebony Sunala Johnson, VA 76890
(Ebony.Johnson@cfpb.gov; 202-435-7245)
Nicholas Lee, DC 1004186
(Nicholas.Lee@cfpb.gov; 202-435-7059)
Manuel Arreaza, DC 1015283
(Manuel. Arreaza@cfpb.gov; 202-435-7850)
Andrea Matthews, MA 694538
(Andrea.Matthews@cfpb.gov; 202-435-7591)
Jonathan Reischl, IL 6305260
(Jonathan. Reischl@cfpb.gov; 202-435-9202)
Enforcement Attorneys

1700 G Street NW
Washington, DC 20552

Fax: 202-435-9346

Attorneys for Plaintiff
Case 3:17-cv-00101-RDM Document 304 Filed 05/22/19 Page 10 of 24

SENSITIVE — CONTAINS PERSONALLY IDENTIFIABLE INFORMATION (PID)
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CERTIFICATE OF SERVICE
I certify that on May 20, 2019, I served the foregoing document by
email to all counsel for Defendants. Daniel Kearney, on behalf of

Defendants, previously consented to electronic service.

/s/ Nicholas Jabbour
Nicholas Jabbour, DC 500626
Nicholas.Jabbour@cfpb.gov
1700 G Street NW
Washington, DC 20552
Phone: 202-435-7508
Fax: 202-435-9346

Attorney for Plaintiff
Case 3:17-cv-00101-RDM Document 304 Filed 05/22/19 Page 11 of 24

EXHIBIT B
Case 3:17-cv-00101-RDM Document 304 Filed 05/22/19 Page 12 of 24

SENSITIVE — CONTAINS PERSONALLY IDENTIFIABLE INFORMATION (PII)
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IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

Consumer Financial Protection Bureau,

Plaintiff, Case No. 3:17-CV-00101-RDM

(Hon. Robert D. Mariani)
V.

Navient Corporation, et al.,

Defendants.

 

 

PLAINTIFF’S FOURTH
SUPPLEMENTAL AND AMENDED INITIAL DISCLOSURES

SUPPLEMENTAL AND AMENDED INITLAL DISULUsUNEs
Pursuant to Rules 26(a)(1)(A) and 26(e)(1) of the Federal Rules of
Civil Procedure, the Bureau provides the following information to
supplement and amend the initial disclosures served upon Defendants
Navient Corporation, Navient Solutions, LLC (“Navient” or “Navient
Solutions”), and Pioneer Credit Recovery, Inc. (“Pioneer”) on May 10, 2017
(“Opening Disclosures”); the first supplement served on October 20, 2017
(“First Supplement”); the second supplement served on February 27, 2018
(“Second Supplement”); and the third supplement served on November 9,
2018 (“Third Supplement”). The Bureau reserves the right to clarify, revise,

or correct any of its disclosures, and may provide further supplementation

as appropriate under Federal Rule of Civil Procedure 26(e). No information
Case 3:17-cv-00101-RDM Document 304 Filed 05/22/19 Page 13 of 24

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contained in these disclosures should be construed as a waiver of any

applicable privilege, including, but not limited to, the attorney work

product privilege, the attorney-client privilege, or the deliberative process
privilege.

I. Rule 26(a)(1)(A)G@): “the name and, if known, the address
and telephone number of each individual likely to have
discoverable information—along with the subjects of that
information—that the disclosing party may use to support
its claims or defenses, unless the use would be solely for
impeachment”

The individuals described below are likely to have discoverable
information that the Bureau may use to support its claims. Because
discovery in this action is ongoing, any description of an individual’s
knowledge or information should not be read to limit the subject matter(s)
about which particular individuals may have discoverable information.

A. Current and Former Employees of Defendants

As previously communicated to Defendants, the Bureau has removed
BEE {010 its Third Supplement. With respect to a.
a former employees identified in the Third Supplement, the scope of her

information and knowledge is supplemented to include all testimony

relating to the claims in this case that she provided at her deposition.
Case 3:17-cv-00101-RDM Document 304 Filed 05/22/19 Page 14 of 24

 

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In addition, the Bureau adds the names of the following current and
former employees, who have the information and knowledge that includes
the testimony that they provided at their depositions relating to the claims
inthis <5 EE ET 2
HE. These witnesses can be contacted through Defendants’ counsel.

Finally, the Bureau adds the following former employees:

 

Name Contact Date of Description of Information or Knowledge
Information** | Interview

_ November Ms. BE, formerly a Collections Specialist I, has

2018 information and knowledge concerning collections

 

 

call center practices, including communications
with borrowers, metrics used to evaluate
collections employees, employee incentives,
techniques commonly used by employees to collect
payments from consumers, Navient’s policies
regarding call duration, presentation of repayment
options to consumers, and employee
representations to consumers regarding the
attributes of income driven repayment plans.

PY Mi | November Ms. ME, formerly a Collections Specialist, has

 

 

2018 information and knowledge concerning collections
call center practices, including communications
with borrowers, metrics used to evaluate
collections employees, employee incentives,
Navient’s policies regarding call duration,
presentation of repayment options to consumers,
and practices utilized by employees to meet
metrics and attain incentives.

 

 

 

 

 

 

** Please serve witnesses at listed addresses, and not at places of
employment.

B. Consumers

The Bureau adds the following consumers:
Case 3:17-cv-00101-RDM Document 304 Filed 05/22/19 Page 15 of 24

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Name

 

 

 

Contact
Information

 

 

Date of
Interview

Description of Information or Knowledge

 

 

 

November
2018

Ms. has knowledge of the statements made
to her by a Pioneer Credit Recovery representative
regarding the purported benefits of completing the
Federal Loan Rehabilitation Program. Those
statements included representations regarding
purported waiver of fees off of her outstanding
loan balance and changes to the information that
would appear on Ms. einer credit report. Ms.

has knowledge of the effect of Pioneer’s
representations on her perception of the benefits
of the Federal Loan Rehabilitation Program, and
her evaluation of the options available to her
regarding her defaulted student loans.

 

 

November
2018

Mr. has knowledge of his and his wife’s
efforts to recertify her participation in the Income-
Based Repayment program, including the effects
and limitations of Navient’s communications
regarding recertification on his understanding of
the recertification process. He also has knowledge
of the effects on his household finances of
reversion of his wife’s monthly payment amount to
the Permanent-Standard Payment.

 

 

October and
November
2018

 

Ms. | | has knowledge of Navient’s
communications with consumers regarding
repayment options, including at least one
communication in which she expressed that she
was having difficulty making her monthly
payments and Navient only offered the
forbearance option for her federal loans.

 

+ This consumer has authorized the Bureau to accept service on his or her
behalf.
** Please serve witness at listed addresses, and not at place of employment.

 
Case 3:17-cv-00101-RDM Document 304 Filed 05/22/19 Page 16 of 24

SENSITIVE — CONTAINS PERSONALLY IDENTIFIABLE INFORMATION (PID)
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Dated: December 5, 2018

Kristen Donoghue
Enforcement Director

David Rubenstein
Deputy Enforcement Director

Thomas Kim
Assistant Deputy Enforcement Director

/s/ Nicholas Jabbour
Nicholas Jabbour, DC 500626
(Nicholas.Jabbour@cfpb.gov; 202-435-7508)
Ebony Sunala Johnson, VA 76890
(Ebony.Johnson@cfpb.gov; 202-435-7245)
Nicholas Lee, DC 1004186
(Nicholas.Lee@cfpb.gov; 202-435-7059)
Manuel Arreaza, DC 1015283
(Manuel.Arreaza@cfpb.gov; 202-435-7850)
Andrea Matthews, MA 694538
(Andrea.Matthews@cfpb.gov; 202-435-7591)
David Dudley, DC 474120
(David.Dudley@cfpb.gov; 202-435-9284)
Enforcement Attorneys

1700 G Street NW
Washington, DC 20552
Fax: 202-435-9346

Attorneys for Plaintiff
Case 3:17-cv-00101-RDM Document 304 Filed 05/22/19 Page 17 of 24

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CERTIFICATE OF SERVICE

 

I certify that on December 5, 2018, I served the foregoing document
by email to the following counsel for Defendants:

Jonathan Paikin: jonathan.paikin@wilmerhale.com
Daniel P. Kearney, Jr.: Daniel.kearney@wilmerhale.com
Matthew T. Martens: matthew.martens@wilmerhale.com
Karin Dryhurst: Karin.dryhurst@wilmerhale.com

Donna A. Walsh: dwalsh@mbklaw.com

Daniel T. Brier: dbrier@mbklaw.com

Mr. Kearney, on behalf of Defendants, previously consented to electronic

service.

/s/ Nicholas Jabbour
Nicholas Jabbour, DC 500626
Nicholas.Jabbour@cfpb.gov
1700 G Street NW
Washington, DC 20552
Phone: 202-435-7508
Fax: 202-435-9346

Attorney for Plaintiff
Case 3:17-cv-00101-RDM Document 304 Filed 05/22/19 Page 18 of 24

EXHIBIT C
Case 3:17-cv-00101-RDM Document 304 Filed 05/22/19 Page 19 of 24

Schultz, Allison

From: Dryhurst, Karin

Sent: Tuesday, March 26, 2019 8:51 PM

To: WH Navient-CFPB Litigation

Subject: FW: CFPB v. Navient Corp. et al (M.D. Pa.)

 

From: Jabbour, Nicholas (CFPB)

Sent: Tuesday, March 26, 2019 8:50:15 PM (UTC-05:00) Eastern Time (US & Canada)

To: Dryhurst, Karin; Bilbrough, Natalie; Dan Brier; Donna Walsh; Kearney, Daniel P.; Lyons, Webb; Martens, Matthew T.;
Paikin, Jonathan; Smith, Arin

Cc: Arreaza, Manuel (CFPB); Johnson, Ebony (CFPB); Kim, Thomas (CFPB); Lee, Nicholas (CFPB); Matthews, Andrea
(CFPB); Reischi, Jonathan (CFPB); Wagman, Lawrence (CFPB)

Subject: RE: CFPB v. Navient Corp. et al (M.D. Pa.)

 

 

EXTERNAL SENDER

Karin,

We are continuing to try to reach Ms. and left another voice message in the past few days. We would like to
continue our efforts and will keep you updated as to whether we have any success in getting in touch with her.

Thanks,
Nick

 

Nick Jabbour

Enforcement Attorney

Consumer Financial Protection Bureau
Office: 202-435-7508

Cell: 202-760-5237

Email: nicholas.jabbour@cfpb.gov
consumerfinance.gov

Confidentiality Notice: If you received this email by mistake, you should notify the sender of the mistake and delete the
email and any attachments. An inadvertent disclosure is not intended to waive any privileges.

From: Dryhurst, Karin <Karin.Dryhurst@wilmerhale.com>

Sent: Monday, March 25, 2019 9:53 AM

To: Jabbour, Nicholas (CFPB) <Nicholas.Jabbour@cfpb.gov>; Arreaza, Manuel (CFPB) <Manuel.Arreaza@cfpb.gov>;
Dudley, David (CFPB) <David.Dudley@cfpb.gov>; Johnson, Ebony (CFPB) <EbonyJohnson@cfpb.gov>; Kim, Thomas
(CFPB) <Thomas.Kim @cfpb.gov>; Lee, Nicholas (CFPB) <Nicholas.Lee@cfpb.gov>; Matthews, Andrea (CFPB)
<Andrea.Matthews@cfpb.gov>; Reischl, Jonathan (CFPB) <Jonathan.Reisch|@cfpb.gov>; Wagman, Lawrence (CFPB)
<Lawrence.DeMille-Wagman@cfpb.gov>

Cc: Bilbrough, Natalie <Natalie.Bilbrough@wilmerhale.com>; Dan Brier <dbrier@mbklaw.com>; Donna Walsh
<dwalsh@mbklaw.com>; Kearney, Daniel P. <Daniel.Kearney@wilmerhale.com>; Lyons, Webb
<Webb.Lyons@wilmerhale.com>; Martens, Matthew T. <Matthew.Martens@wilmerhale.com>; Paikin, Jonathan
Case 3:17-cv-00101-RDM Document 304 Filed 05/22/19 Page 20 of 24

<Jonathan.Paikin@ wilmerhale.com>; Smith, Arin <Arin.Smith@wilmerhale.com>
Subject: RE: CFPB v. Navient Corp. et al (M.D. Pa.)

Just following up. Please let us know if you would prefer that we try to contact ms. a.

From: Dryhurst, Karin

Sent: Friday, March 15, 2019 12:49 PM

To: Jabbour, Nicholas (CFPB) <Nicholas.Jabbour@cfpb.gov>; Arreaza, Manuel (CFPB) <Manuel.Arreaza@cfpb.gov>;
Dudley, David (CFPB) <David.Dudley@cfpb.gov>; Johnson, Ebony (CFPB) <Ebony.Johnson@cfpb.gov>; Kim, Thomas
(CFPB) <Thomas.Kim@cfpb.gov>; Lee, Nicholas (CFPB) <Nicholas.Lee@cfpb.gov>; Matthews, Andrea (CFPB)
<Andrea.Matthews@cfpb.gov>; Reischl, Jonathan (CFPB) UJonathan.Reisch|@cfpb.gov) <Jonathan.Reischl@cfpb.gov>;
Wagman, Lawrence (CFPB) <Lawrence.DeMille-Wagman@cfpb.gov>

Cc: Bilbrough, Natalie <Natalie.Bilbrough@wilmerhale.com>; Dan Brier <dbrier@mbklaw.com>; Donna Walsh
<dwalsh@mbklaw.com>; Kearney, Daniel P. <Daniel.Kearney@wilmerhale.com>; Lyons, Webb
<Webb,Lyons@wilmerhale.com>; Martens, Matthew T. <Matthew.Martens@wilmerhale.com>; Paikin, Jonathan
<Jonathan.Paikin@wilmerhale.com>; Smith, Arin <Arin.Smith@wilmerhale.com>

Subject: CFPB v. Navient Corp. et al (M.D. Pa.)

Nick,

A couple months ago, you mentioned some trouble reaching os. a. Have you had any luck? We would like to
go ahead and schedule her deposition if possible.

Thanks,
Karin

Karin Dryhurst | WilmerHale
1875 Pennsylvania Avenue NW
Washington, DC 20006 USA

+1 202 663 6248 (t)

+1 202 663 6363 (f)
karin.dryhurst@wilmerhale.com

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the intended recipient, please notify us immediately—by replying to this message or by sending an email to postmaster @wilmerhale.com—and destroy all
copies of this message and any attachments. Thank you.

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Case 3:17-cv-00101-RDM Document 304 Filed 05/22/19 Page 21 of 24

EXHIBIT D
 

Case 3:17-cv-00101-RDM Document 304 Filed 05/22/19 Page 22 of 24

 

 

Schultz, Allison

From: Matthew.Sheldon@navient.com

Sent: Thursday, May 16, 2019 9:32 AM

To: Kearney, Daniel P.; Dryhurst, Karin

Ce: Slawson, Kurt T

Subject: FW: _ the federal government is suing your former employer Navient / Sallie Mae
Attachments: 20170118 [1] CFPBs Complaint.pdf

EXTERNAL SENDER _

 

a
NAVI=ENT.

Matthew R. Sheidon

Vice President & Associate General Counsel
Navient Solutions, LLC

2001 Edmund Halley Drive, Reston, Virginia 20191
703.984.6732 (t) | 703.984.6500 (f)

matthew.sheldon@navient.com

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any dissemination of this communication is strictly prohibited. If you have received this communication in error, please
delete all electronic copies of the message and its attachments, destroy any hard copies, and notify me immediately.

From: Stine, Jeffrey

Sent: Thursday, May 16, 2019 9:29 AM

To: Sheldon, Matthew R <Matthew.Sheldon@navient.com>

Subject: Fw: a. the federal government is suing your former employer Navient / Sallie Mae

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Attorney-Client Communication
Case 3:17-cv-00101-RDM Document 304 Filed 05/22/19 Page 23 of 24

From:

Sent: Wednesday, May 15, 2019 5:00 PM

To: Stine, Jeffrey <Jeffrey.A.Stine@navient.com>; Harman, Stacey <Stacey.A.Harman@navient.com>
Subject: Fw: a. the federal government is suing your former employer Navient / Sallie Mae

Thought | would pass this along.

 
 
   
 

From:
Sent: Wednesday, May 15, 2019 4:56 PM
To:
Subject: Fwd:

 

, the federal government is suing your former employer Navient / Sallie Mae

--- External Email ---

sranman ne Forwarded message ---------
From: Lee, Nicholas (CFPB) <Nicholas.Lee@cfpb.gov>
Date: Wed, May 15, 2019 at 4:19 PM

aa. the federal government is suing your former employer Navient / Sallie Mae
To

’m an attorney for the Consumer Financial Protection Bureau (CFPB), a federal agency. At the CFPB, | am working ona
lawsuit against your former employer Navient (previously known as Sallie Mae) relating to various practices that we
believe harmed borrowers. A copy of the complaint in the lawsuit is attached.

As part of the lawsuit, | received a list of former employees that included your name, and am reaching out to see if you
might be willing to speak about your experiences. If you are willing to speak with me, | would appreciate it if you could
reply to this email or call me directly at 202.435.7059.

Thank you for your attention to this matter.

Nick

Nicholas Lee
Senior Litigation Counsel
Division of Supervision, Enforcement & Fair Lending
Case 3:17-cv-00101-RDM Document 304 Filed 05/22/19 Page 24 of 24

Consumer Financial Protection Bureau

nicholas. lee@cfpb.gov
Tel: 202 435 7059

Fax: 202 435 7314

www.consumerfinance.gov

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